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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


PUBLIC CITIZEN,

                Plaintiff,

       v.                                                   Civil Action No. 20-2949 (APM)

NATIONAL INSTITUTES OF HEALTH,
et al.,

                Defendants.



                                   JOINT STATUS REPORT

       The United States Department of Health and Human Services (“HHS”) and National

Institutes of Health (“NIH”) (collectively, “Defendants”), and Plaintiff Public Citizen, by and

through undersigned counsel, respectfully submit this Joint Status Report pursuant to the Court’s

November 4, 2021, Minute Order.

       1.       With respect to the FOIA request to HHS, as previously reported, the Parties have

agreed that HHS will process 400 records in response to the first part of the request each month,

with each production occurring by the sixth day of each month. Most recently, on November 8,

2021, HHS released 78 pages and today, on December 6, 2021, released 10 pages to Public Citizen,

with redactions. HHS will make its next release of records on January 6, 2021. In addition, HHS

expects to release by the end of this week additional records that it processed in August, September,

or October and then submitted to a commercial entity for pre-disclosure notification.

       2.       With respect to the second part of the HHS request, as previously reported, Public

Citizen and HHS agreed that, instead of having the FOIA office or contractors enter search terms

in a database of agency records, HHS would have the custodians conduct a search of their own
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files. On October 18, 2021, HHS informed Public Citizen that it located 506 pages in response to

this search.

          3.       Regarding Plaintiff’s FOIA request to NIH, on October 20, 2021, Public Citizen

provided NIH with narrower search terms. On November 10, 2021, NIH informed Public Citizen

that the narrowed search resulted in 8,219 pages of emails, plus attachments. Public Citizen and

NIH continue to discuss the parameters of the search. In particular, Public Citizen has asked NIH

whether, instead of having the FOIA office or contractors enter search terms in a database of

agency records, NIH would be willing to have the custodians conduct a search of their own files.

NIH will inform Public Citizen by December 23, 2021, whether it is willing to conduct such a

search.

          4.       The Parties request that Court allow them to file a Joint Status Report by January

11, 2022, to update the Court on the progress of this case.

Dated: December 6, 2021                         Respectfully submitted,

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                                                United States Attorney

                                                BRIAN P. HUDAK,
                                                Acting Chief, Civil Division

                                         By:    /s/ Stephanie R. Johnson
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PUBLIC CITIZEN,

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         v.                                                 Civil Action No. 20-2949 (APM)

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                                      [PROPOSED] ORDER

         UPON CONSIDERATION of the Joint Status Report, and the entire record herein, it is

hereby

         ORDERED that the Parties shall file a joint status report by January 11, 2022,

It is SO ORDERED this             day of                                 , 2021.




                                              AMIT P. MEHTA
                                              UNITED STATES DISTRICT COURT JUDGE




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